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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES STEEL CORPORATION,            )
NIPPON STEEL CORPORATION, and NIPPON        )
STEEL NORTH AMERICA, INC.                   )
                                            )
                    Plaintiffs,             )      Civil Action No. 2:25-cv-15
                                            )
v.                                          )      Hon. Marilyn J. Horan
                                            )
CLEVELAND- CLIFFS INC., LOURENCO            )
GONCALVES, AND DAVID MCCALL                 )
                                            )
                    Defendants.             )

      DEFENDANT DAVID MCCALL’S REPLY BRIEF IN SUPPORT OF MOTION TO
     DISMISS THE EXPEDITED CLAIMS AND FOR AN AWARD OF ATTORNEY FEES,
                   COURT COSTS, AND LITIGATION EXPENSES


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       Plaintiffs’ responsive brief attempts to downplay what spurred this case: President Biden’s

order blocking their Merger on national security grounds. It was that order—and that order alone,

given that the Merger had already received shareholder approval—that caused the harm Plaintiffs

allege. As a result, Defendants’ alleged conduct in furtherance of their “public campaign against

the Merger,” Compl. ¶ 62, cannot be the basis for antitrust or tort liability, even if Defendants’

conduct was motivated by an anticompetitive motive.

       To avoid dismissal of their antitrust claims, Plaintiffs seek to focus the Court on Cliffs’

communications with investors and the like that they argue were not part of the alleged public

campaign. But those efforts do not save their claims. It is evident from the Complaint that

Plaintiffs’ alleged injuries stem from the failure of the Merger at the hand of the government, not

any other conduct. Further, none of the conduct allegedly undertaken by Defendants, whether

considered as part of their public campaign or not, involved a restraint of trade. Rather, Defendants’

entreaties to investors, shareholders, and the public were the types of non-coercive speech and

persuasion activities that the Third Circuit has held—in a case Plaintiffs fail to acknowledge—are

not unlawful under the Sherman Act.

       As to the Plaintiffs’ tortious interference claims against Mr. McCall, we demonstrated in

our opening brief that these claims are preempted under federal labor law because they seek to

proscribe conduct that falls within the ambit of Section 7 of the National Labor Relations Act.

Plaintiffs essentially concede as much, as they do not engage seriously with our showing, let alone

demonstrate that it was wrong. Thus, those claims must be dismissed for that and other reasons.

Similarly, Plaintiffs misstate the applicable law with respect to the Norris LaGuardia Act, which

we have shown bars Plaintiffs’ claims for injunctive relief and puts to rest any purported need for

expedition in this case. The expedited claims should be dismissed with prejudice.



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                                           ARGUMENT

    I.   Plaintiffs’ Expedited Claims Are Barred by the Noerr-Pennington Doctrine

         1.     We showed in our opening brief that Defendants are immune under the Noerr-

Pennington doctrine from both antitrust and tort liability based on conduct undertaken to influence

a government decisionmaker. 1 McCall Br. 7–11. That is true even if the conduct involved false or

deceptive statements to the public, id. at 8–9; see Allied Tube & Conduit Corp. v. Indian Head,

Inc., 486 U.S. 492, 499–500 (1988), or political corruption, see City of Columbia v. Omni Outdoor

Advert., Inc., 499 U.S. 365, 378–79 (1991).

         Despite Plaintiffs’ attempts to downplay the role of the government action in this case, they

cannot disguise the fact that all of their injuries flow from the President’s order blocking the

Merger. See McCall Br. 6 (summarizing Plaintiffs’ allegations). Put differently, had the government

approved the Merger, permitting it to be consummated at the agreed-upon price, none of Plaintiffs’

alleged injuries would exist. Based on the Third Circuit’s reasoning in Merck, and principles of

antitrust standing, the fact that Plaintiffs’ injuries “flow[] from” government action places

Plaintiffs’ claims squarely within the Noerr-Pennington doctrine. In re Merck Mumps Vaccine

Antitrust Litig., No. 23-3089, 2024 WL 4432076, at *9 (3d Cir. Oct. 7, 2024); Race Tires Am., Inc.

v. Hoosier Racing Tire Corp., 614 F.3d 57, 76 (3d Cir. 2010).

         Defendants are not liable for conduct in connection with their “public campaign” to

“pressur[e] President Biden to block” the Merger. Compl. ¶¶ 62, 178. That is so even if some of

the “public campaign” was directed at non-governmental audiences or caused incidental harm to

Plaintiffs. See E. R.R. Presidents Conf. v. Noerr Motor Freight, Inc., 365 U.S. 127, 143 (1961).



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        Plaintiffs do not contest that, if Noerr-Pennington bars their antitrust claims, it also bars
their tortious interference claims. See Pls.’ Br. 38–44.

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       2.      In recognition of the problems Noerr-Pennington poses for their claims, Plaintiffs

avoid discussion of their allegations of a “public campaign” by the Defendants that allegedly

contributed to the failure of the Merger at the hands of the government. Instead, they attempt to

recast this as a case about outreach to investors and other similar activities, see Pls.’ Br. 9–11, in

furtherance of a supposed “agreement” to prevent U.S. Steel from merging with anyone other than

Cliffs. See id. at 18–23. But that tactic does not rescue their claims from Noerr-Pennington.

       At the threshold, as Pennington itself makes clear, Noerr-Pennington immunity applies to

petitioning conduct even if that conduct is part of a larger anticompetitive scheme. United Mine

Workers of Am. v. Pennington, 381 U.S. 657, 660–61, 669–70 (1965). Indeed, Plaintiffs concede

(as they must) that “some” of Defendants’ conduct may be protected by Noerr-Pennington. Pls.’

Br. 23, see also id. at 1 (“Plaintiffs do not seek to enjoin Defendants’ lobbying or political

speech.”). Thus, even if there was indeed some enduring “agreement” involving activities beyond

those in connection their public campaign, the Defendants would, at a minimum, be immune with

respect to the activities undertaken in connection with their public campaign, as well as any alleged

injuries that flow from the failure of the Merger. Compl. ¶¶ 62, 178.

       Plaintiffs have alleged that statements to investors and other public statements were part of

Defendants’ “public campaign against the Merger.” Id. ¶ 62; see McCall Br. 7–9. But even if they

were not, these activities did not cause Plaintiffs any cognizable injury: notably, Plaintiffs’

response identifies no such harm, despite their attempts to identify some. See Cliffs Br. 9–10, Pls.’

Br. 23–25. Further, for the reasons fully discussed in Part II infra, none of the Defendants’ alleged

conduct constituted a restraint of trade.

       3.      Defendants briefly seek to resuscitate their arguments under Noerr’s so-called

“sham exception” by asserting, without any analysis, that the CFIUS process was “adjudicative”



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in nature, invoking a remark by the Supreme Court suggesting that antitrust immunity may not

extend to the submission of knowingly false information to an adjudicative tribunal. See Pls.’ Br.

25–26 (citing Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 512–13, 515 (1972)).

That gambit fails for several reasons. First, that proposition does not appear to be good law in this

Circuit. Armstrong Surgical Ctr., Inc. v. Armstrong Cnty. Mem’l Hosp., 185 F.3d 154, 160 (3d Cir.

1999) (noting that the Supreme Court “has never . . . held” that an exception for adjudications

exists and that “since California Motor, the Supreme Court has decided a case that casts doubt on

whether such an exception exists under any circumstances”).

       Second, although the Court need not reach this issue, the CFIUS process is not adjudicative

in any event. See Mercatus Grp., LLC v. Lake Forest Hosp., 641 F.3d 834, 845 (7th Cir. 2011)

(describing factors for determining whether a proceeding is adjudicative). As in Mercatus, the

CFIUS process did not involve the compilation of an evidentiary record through formal

proceedings. Rather, CFIUS’s assessment was premised upon a decentralized and informal fact-

gathering process, which includes submissions by non-parties. See Exec. Order No. 13,456 § 6(a),

73 Fed. Reg. 4677, 4678 (Jan. 23, 2008) (permitting “[a]ny member” of CFIUS to “conduct its

own inquiry with respect to the potential national security risk posed by a transaction”); 31 C.F.R.

§ 800.601(e) (permitting CFIUS to act “based upon the facts set forth in the declaration or notice

… or any other information available to the Committee”); 31 C.F.R. 800.801(a) (contemplating

that non-parties to a transaction will submit information to CFIUS); cf. Armstrong Surgical Ctr.,

185 F.3d at 164 n.8 (Noerr-Pennington applies where the decisionmakers are not wholly dependent

on information from the defendants). Also, the ultimate decision was made by President Biden in

an exercise of essentially unreviewable authority. See 50 U.S.C. § 4565(e); Allied Tube, 486 U.S.

492 at 499–500 (Noerr-Pennington applies to efforts “seeking . . . executive action.”).



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        Further, Plaintiffs do not allege that Defendants submitted false information to CFIUS, let

alone that CFIUS or the President relied on such false information. See Cheminor Drugs, Ltd. v.

Ethyl Corp., 168 F.3d 119, 124 (3d Cir. 1999). Ultimately, Plaintiffs are left arguing that the CFIUS

process was corrupted by political influence. Pls.’ Br. 26. That assertion does not place this matter

within the “sham” exception. Rather, it confirms that Defendants’ conduct is subject to Noerr-

Pennington immunity. See Omni Outdoor Advert., 499 U.S. at 378–79 (allegations that a

government process was corrupt cannot support an antitrust claim under Noerr-Pennington).

 II.    Plaintiffs’ Section 1 Claim Fails Because No Restraint of Trade Is Alleged

        1.     In our opening brief, we explained that there can be no antitrust liability for speech

in the marketplace that does not restrain trade, even setting aside the protection that speech may

enjoy under the First Amendment or Noerr-Pennington. Thus, Plaintiffs’ Section 1 claim is due to

be dismissed because all the alleged conduct—including, for example, Cliffs’ communications to

investors—are nonactionable under the Sherman Act. See McCall Br. 12–13. Plaintiffs do not

seriously address this argument; indeed, they fail even to acknowledge, let alone discuss, the

primary case we rely on for that proposition, Santana Prods., Inc. v. Bobrick Washroom Equip.,

Inc., 401 F.3d 123, 125–26, 128 (3d Cir. 2005). McCall Br. 12–13.

        In Santana Products, a manufacturer of toilet partitions accused a competitor of conspiring

with others to provide false information about its products to government architects, successfully

convincing the government to adopt specifications in defendants’ favor. 401 F.3d at 125–26. The

Third Circuit found that although there was evidence of concerted action, the conduct at issue did

not constitute a restraint of trade, and it therefore could not violate Section 1. Id. at 129, 131. The

Santana Products court reasoned that the misrepresentations did not restrain trade because the

plaintiff was free to respond in kind, whether to tout its own products or to prove to the government



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architects that the defendants’ representations were incorrect. Id. at 133. As the court observed, the

defendant did not engage in any “coercive measures that prevented Santana from selling its

products to any willing buyer or prevented others from dealing with Santana.” Id. at 132. Rather,

it “confine[d] itself to efforts to persuade an independent decisionmaker.” Id. at 134 (quoting Allied

Tube, 486 U.S. at 507). Without some kind of “enforcement device that operated to restrain trade,”

id., a “campaign . . . aimed primarily at persuading” decisionmakers is not proscribed by Section

1, id. at 133. 2 See also Sanderson v. Culligan Int’l Co., 415 F.3d 620, 623 (7th Cir. 2005) (“False

statements about a rival’s goods do not curtail output in either the short or the long run. They just

set the stage for competition in a different venue: the advertising market.”).

       Santana Products forecloses Plaintiffs’ Section 1 claim. Even on Plaintiffs’ telling, the

“war[fare]” that Defendants allegedly engaged in consisted of public statements to reporters

deriding Nippon, efforts to “convince” investors that the Merger could not close, and “solicitation”

of Nippon and U.S. Steel investors to abandon the Merger. Pls.’ Br. 9–10, 20; see also Compl. ¶ 59

(referring to Defendants’ alleged “misinformation campaign”). Those efforts were nothing more

than non-coercive attempts at persuasion. Plaintiffs were able to respond in kind through their own

campaign touting the Merger’s benefits. There is no plausible allegation that either Cliffs or the

USW exercised (or even threatened to exercise) in those communications any “enforcement

device” to achieve their allegedly anticompetitive objective. 3


2
        Following Santana, the Third Circuit recognized that “in ‘rare[]’ circumstances” false or
deceptive statements may violate the antitrust laws. Eisai, Inc. v. Sanofi Aventis U.S., LLC, 821
F.3d 394, 407 n.40 (3d Cir. 2016). “[A]t minimum,” a plaintiff would have to show that such
statements “induced or were likely to induce reasonable reliance by consumers,” and that the
plaintiff did not have an opportunity to correct the alleged misstatements. Id. Plaintiffs have not
attempted to make such a showing here, nor could they do so.
3
        The non-speech conduct by the USW—filing and pursuing a grievance deemed to be well
founded by the arbitration panel that considered it, and not engaging in negotiations with Nippon
to the Plaintiffs’ satisfaction—also did not involve the use of any coercive market pressure. See
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       This point is fatal to Plaintiffs’ claim, as their own cited caselaw demonstrates. All of the

cases relied upon by Plaintiffs in support of their Section 1 claim involve the exercise of coercive

market mechanisms beyond mere persuasive speech. For example, in West Penn Allegheny Health

System, Inc. v. UPMC, 627 F.3d 85, 103–05, 109–10 (3d Cir. 2010), a health-care provider

conspired with an insurer to distort the medical labor market by offering non-market salaries and

to use the insurer’s monopsony power to artificially depress reimbursement rates. False statements

made by defendants to investors was found to be only one component of an overall coercive

strategy. Id. at 110. See also ES Dev. Inc. v. RWM Enters., Inc., 939 F.2d 547, 555–56 (8th Cir.

1991) (car dealers exercised legal rights under franchise agreements in a concerted manner to

achieve anti-competitive goal); FTC v. Superior Ct. Trial Laws Ass’n, 493 U.S. 411, 422–23 (1990)

(lawyers engaged in boycott of provision of legal services); TYR Sport Inc. v. Warnaco Swimwear

Inc., 679 F.Supp.2d 1120, 1131–32 (C.D. Cal. 2009) (coach used his position to coerce swimmers

to wear Speedo swimsuits or be left home from the Olympics). See also Nat’l Soc’y of Pro.

Eng’rs v. United States, 435 U.S. 679, 692 (1978) (code of ethics “operate[d] as an absolute ban

on competitive bidding”). 4

       Plaintiffs similarly do not rebut our observation that there are no cases finding antitrust

liability on behalf of unions or their officers for engaging in non-coercive advocacy activities.


Pls.’ Br. 20; McCall Br. 15 n.4. Further, any effort to limit a union’s exercise of rights under a
collectively bargained BLA would trench upon core union interests protected by federal labor law.
4
        In re NCAA Student-Athlete Name & Likeness Litigation, 2010 WL 5644656, at *4 (N.D.
Cal. Dec. 17, 2010), likewise does not support Plaintiffs’ theory. At issue there was merely whether
the court would stay proceedings in light of an interlocutory appeal regarding a First Amendment
defense. In declining to issue a stay, the court found that the antitrust claims did not turn on that
First Amendment defense. Nor does Jefferson County School District No. R-1 v. Moody’s
Investor’s Services, Inc., 175 F.3d 848, 860 (10th Cir. 1999), support the Plaintiffs, as the court
affirmed the dismissal of the antitrust claim in that case given the lack of any actual restraint of
trade posed by the speech at issue. Id. (“In our view, the First Amendment does not allow antitrust
claims to be predicated solely on protected speech.”).

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McCall Br. 19–21. On the contrary, the only cases Plaintiffs cite on that point, Pls.’ Br. 45, all

involve a union’s exercise of its market power over the supply of labor, not mere persuasion. Allen

Bradley Co. v. Loc. Union No. 3, Int’l. Bhd. of Elec. Workers, 325 U.S. 797, 799–800 (1945) (use

of work stoppages to bring recalcitrant contractors in line); United States v. Employing Plasterers

Ass’n of Chi., 347 U.S. 186, 188, 190 (1954); (union “examining board” barred entry of new

contractors into market); Pennington, 381 U.S. at 660, 666–67 (union “impose[d]” contract terms

in negotiations); Connell Constr. Co. v. Plumbers & Steamfitters Loc. Union No. 100, 421 U.S.

616, 620 (1975) (work stoppage to achieve anti-competitive agreement).

       2.      None of Plaintiffs’ efforts to avoid the impact of these principles is availing. First,

Plaintiffs point to Mr. Goncalves’ statement about the USW’s “de facto veto power” as evidence

that Defendants “exercise[d]” their power to restrain trade. See Pls.’ Br. 17 (quoting ES Dev., 939

F.2d at 555), see also id. at 6, 24; Compl. ¶ 10. But Plaintiffs specifically allege that USW did not

have veto power over the Merger. Compl. ¶¶ 11, 48, 50–51, 198. That is, on Plaintiffs’ allegations,

Mr. Goncalves’ statement about a “de facto veto” was merely false speech. They cannot have it

both ways. Plaintiffs do not identify any actual “enforcement device” that Defendants “exercised”

(or threatened to exercise) to block the Merger or achieve any other anti-competitive end.

       Second, Plaintiffs appear to suggest that all of Mr. McCall’s and the Defendants’ statements

were imbued with the implicit threat that the USW would engage in a strike or other work stoppage.

See Pls.’ Br. 44–45. But there is no allegation that Mr. McCall (or the USW) ever made any such

threat. 5 Indeed, such a notion is belied by the USW’s pursuit of its successorship grievance through



5
        In their 93-page Complaint, the only allegation that Plaintiffs suggest could even be
construed as a threat of strike, see Compl. ¶ 45, is a comment by Mr. Goncalves that “the USW
will ‘burn down the plants if the deal [is] approved.’” Id. ¶ 18. This colorful comment is included
in the Complaint without any context as to when or to whom it was made. Indeed, the Complaint
does not even relay Mr. Goncalves’s full remarks, but simply a fragment of a sentence. This single
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the parties’ conventional grievance process, as well as the total absence of any actual economic

pressure or slowdown by the Union during the pendency of the Merger. Persuasion is an important

tool for unions, and the law has long recognized that unions are permitted to engage in advocacy

without that advocacy being understood as a threat. See, e.g., 29 U.S.C. 158(c) (“The expressing

of any views, argument, or opinion, or the dissemination thereof . . . shall not constitute or be

evidence of an unfair labor practice . . . if such expression contains no threat of reprisal or force .

. . .”); DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Constr. Trades Council, 485 U.S. 568, 578–79

(1988) (union consumer hand-billing is not inherently coercive). A union would be hobbled in its

ability to fulfill its function and obligations on behalf of its members if courts recharacterized every

statement that it made about a dispute with an employer as a threat of unlawful economic pressure.

        Finally, Plaintiffs argue at length that what is at issue in this case is an illegal agreement in

the abstract, rather than conduct undertaken in furtherance of that agreement. Pls.’ Br. 16, 23–24

(“The wrong that the Complaint seeks to remedy is . . . Defendants’ unlawful and anticompetitive

agreement.”). But it is not enough to allege that an “agreement” exists; to state a successful claim

Section 1 claim, a private plaintiff must allege conduct that both restrains trade and harms the

plaintiff. See 15 U.S.C. § 15(a); Santana Products, 401 F.3d at 129–32; Eisai, Inc., 821 F.3d at 402

(“To establish an actionable antitrust violation, [the plaintiff] must show both that [the defendant]

engaged in anticompetitive conduct and that [the plaintiff] suffered antitrust injury as a result.”)

(emphasis added). As discussed above, Plaintiffs have not identified any conduct that is an illegal

restraint of trade. Nor have they identified any injuries that flow from Defendants’ conduct, other

than the harm caused by the government’s decision to block the Merger.



metaphorical sentence fragment without context, allegedly made by a speaker other than the USW
itself, to an unknown audience, does not plausibly establish that all statements by the Defendants
were imbued with the implicit threat of a work stoppage by the USW.

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        Moreover, contrary to Plaintiffs’ contentions (Pls.’ Br. 29), the Union’s August 2023

statement endorsing Cliffs’ bid for U.S. Steel does not establish the existence of any agreement,

let alone an illegal one. There is nothing inherently illegal or anticompetitive about the USW’s

August 2023 endorsement of Cliffs’ bid for U.S. Steel. Indeed, the Basic Labor Agreement (BLA),

which gives the USW significant rights regarding corporate mergers and other transactions, invites

the USW to make such an endorsement, McCall Br. 3, and a union is entitled to speak publicly

about, and even negotiate over, successorship issues pertaining to its members, see id. at 21,

including voicing its preference for one potential successor over another. What is more, it is not

plausible to construe a statement of support for Cliffs’ bid as an agreement to “actively obstruct

any other bidder” through illegal restraints of trade, Pls.’ Br. 29, particularly in absence of any

allegations that Defendants ever engaged in any such illegal restraints.

        That leaves Plaintiffs to argue that they might suffer harm in the future if Plaintiffs lose

their appeal at the D.C. Circuit and Defendants, in combination with one another, take unspecified

actions—of a type not alleged in the Complaint 6—to successfully interfere with unspecified,

prospective bidders. See Pls.’ Br. 29, 47. Such speculation does not state a claim. Armstrong World

Indus., Inc. v. Adams, 961 F.2d 405, 411–12 (3d Cir. 1992) (“Where the plaintiff’s action is based

on a contingency, it is unlikely that the parties’ interests will be sufficiently adverse to give rise to

a case or controversy within the meaning of Article III.”); see also Plains All Am. Pipeline L.P. v.

Cook, 866 F.3d 534, 539 (3d Cir. 2017). 7


6
        Plaintiffs reach beyond the Complaint to identify post-Merger facts for their contention
that Defendants’ unlawful conduct has continued unabated. Pls.’ Br. 12–13. But the conduct
Plaintiffs identify consists of the same type of general speech activities that do not state a Sherman
Act claim. See id. at 13 (quoting Mr. McCall’s statement that “[o]ur concerns regarding Nippon’s
continued interest in U.S. Steel remain unchanged”).
7
        Plaintiffs misleadingly suggest that the Clayton Act permits the court to award injunctive
relief based on speculative injuries. Pls.’ Br. 36 (citing Mid-West Paper Prods. Co. v. Cont’l Grp.,
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III.    Plaintiffs’ Section 2 Claim Fails Because There is No Specific Intent Alleged on the
        Part of Mr. McCall

        Plaintiffs’ argument that “dangerous probability of success” does not always appear in the

standard list of elements for a conspiracy claim under Section 2, Pls.’ Br. 36–37, overlooks the

basic point that this element is required where the underlying theory is attempted monopolization.

McCall Br. 15; Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 456 (1993); see also Indivior

Inc. v. Dr. Reddy’s Lab’ys S.A., 2020 WL 4932547, at *6–7 (D.N.J. Aug. 24, 2020) (cited in Pls.’

Br. 37). As we demonstrated, Plaintiffs have not alleged facts that plausibly establish this necessary

element of their attempted monopolization claim. McCall Br. 16–17.

        As to Plaintiffs’ maintenance of monopoly theory, we showed that Plaintiffs’ claim fails

because there are no allegations that Mr. McCall had any role in Cliffs’ historical efforts to acquire

other steel companies, or that he personally possessed the specific intent to help Cliffs maintain its

purported monopolies in various steel sub-markets. See McCall Br. 17–18. Plaintiffs assert that a

number of allegations show that Mr. McCall had the requisite intent, see Pls.’ Br. 46 (citing Compl.

¶¶ 4, 6, 9, 77, 111, 158), but that assertion does not withstand scrutiny. All of the cited allegations

pertain to the USW generally and not to Mr. McCall personally. Further, none plausibly establish

that Mr. McCall acted with any intent to specifically help Cliffs maintain a monopoly, rather than

merely pursue the USW’s “legitimate business aims” in ensuring that steel is manufactured in

union-represented facilities. 8 Phila. Taxi Ass’n v. Uber Techs., 886 F.3d 332, 341 (3d Cir. 2018).



Inc., 596 F.2d 573, 594 (3d Cir. 1979)). Mid-West Paper stands for no such thing. That case held
only that indirect purchasers who were actually harmed by a price-fixing scheme, though barred
by precedent from seeking treble damages, could still seek injunctive relief. 596 F.2d at 594.
8
        The only evidence of “vocal support” by Mr. McCall for Cliffs’ acquisition of Stelco is a
press release issued by Cliffs after the Stelco transaction was announced. See Compl. ¶ 105;
Cleveland-Cliffs Announces the Acquisition of Stelco, Cleveland-Cliffs (July 15, 2024, 6:00 PM),
https://www.clevelandcliffs.com/news/news-releases/detail/643/cleveland-cliffs-announces-the-
acquisition-of-stelco. This statement does not plausibly establish any specific intent to assist Cliffs
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IV.    Plaintiffs’ Tortious Interference Claims are Preempted

       As an initial matter, though Plaintiffs acknowledge that their tortious interference claims

must be separately evaluated for each Defendant, Pls.’ Br. 3, they do not address Mr. McCall’s

arguments that (a) Plaintiffs have failed to allege any tortious act of interference by him, personally,

McCall Br. 19, and (b) that in any event none of Mr. McCall’s alleged conduct was (or plausibly

would become) the cause of any breach or non-performance, id. at 19–20. The tortious interference

claims against Mr. McCall should be dismissed on those unrebutted grounds alone.

       Plaintiffs make a cursory attempt to rebut Mr. McCall’s argument that their tortious

interference claims against him are preempted under federal labor law. See McCall Br. 20; Pls.’ Br.

46–47. In doing so, Plaintiffs misstate the breadth of Garmon preemption, a doctrine that preempts

state-law causes of action that “concern conduct that is actually or arguably either protected or

prohibited by federal labor relations law.” Bensel v. Allied Pilots Ass’n, 387 F.3d 298, 321 (3d Cir.

2004). As we demonstrated at length in our opening brief, Mr. McCall’s alleged conduct consisted

of public advocacy regarding working conditions for union workers at U.S. Steel, lobbying public

officials on behalf of those employees, and pursuing a grievance to enforce the terms of its BLA—

activities that have all been recognized to fall within the ambit of Section 7 of the National Labor

Relations Act. McCall Br. 21–22 (citing cases). Against this showing, Plaintiffs cite a single district

court case from Texas, which found on the unique, distinguishable facts in that case—involving a

union standing up a business to compete with a company with which it had a collective bargaining

agreement—that Garmon preemption did not apply. See Pls.’ Br. 46 (citing Galveston

Linehandlers, Inc. v. Int’l Longshoremen’s Ass’n, 140 F. Supp. 2d 741, 747 (S.D. Tex. 2001)).



in maintenance of the alleged monopoly. See Cleveland-Cliffs Announces the Acquisition of Stelco,
(“On behalf of our entire membership, I am excited for this transaction and proud to support a deal
that is great for the resilience of manufacturing and Union jobs in North America.”).

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       Plaintiffs also grossly misread Justice Powell’s concurrence in Sears, Roebuck & Co. v.

San Diego County District Council of Carpenters, 436 U.S. 180, 213 (1978). The Court did not

categorically hold, as Plaintiffs suggest (see Pls.’ Br. 46–47), that “Garmon preemption does not

apply” absent the availability of an equivalent remedy under the NLRA. Rather, the Court

considered a number of factors, including “the strength of the argument that [Section] 7 does in

fact protect the disputed conduct,” Sears, 436 U.S. at 203, in determining that a state trespassing

law was not preempted with respect to the picketing activity at issue in that case. The Court has

never so held with respect to tortious interference claims, which have regularly been found to have

been preempted. See McCall Br. 20 (citing cases).

 V.    The Norris-LaGuardia Act (NLGA) Bars Plaintiffs’ Prayer for Injunctive Relief

       As we have explained, the NLGA broadly divests federal courts from issuing injunctions

against any “persons participating” in “any case involving or growing out of any labor dispute.”

McCall Br. 23 (citing 29 U.S.C. § 104). Because the NLGA bars all the injunctive relief sought by

the Plaintiffs against any Defendant, see ECF No. 84-6 (Plaintiffs’ proposed injunction), all claims

for injunctive relief should be dismissed for failure to state a claim.

       Plaintiffs seek to avoid application of the NLGA’s injunction bar mainly by arguing that

this case does not involve a “labor dispute.” Pls.’ Br. 47. That is wrong. Under the NLGA, “[t]he

term ‘labor dispute’” is broadly defined to “include[] any controversy concerning terms or

conditions of employment, or concerning the association or representation of persons . . .

regardless of whether or not the disputants stand in the proximate relation of employer and

employee.” 29 U.S.C. § 113(c); see also Burlington N. R.R. Co. v. Bhd. of Maint. of Way Emps.,

481 U.S. 429, 441 (1987) (“Congress made the definition of ‘labor dispute’ broad because it

wanted it to be broad.”). A labor dispute can have its “‘genesis in political protest[]’ as opposed to



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economic self-interest,” Burlington N., 481 U.S. at 429, and need not involve “one party . . . using

its economic power to bring pressure on the other.” Lukens Steel Co. v. USW, 989 F.2d 668, 677

(3d Cir. 1993) (an arbitration to enforce a CBA is a labor dispute under the NLGA). In addition to

traditional labor actions like striking, the NLGA expressly states that “giving publicity to . . . the

facts involved in” a dispute is one type of activity that cannot be enjoined. 29 U.S.C. § 104(e).

       A labor dispute has and continues to exist between the USW and U.S. Steel as to whether,

and on what terms, Nippon may become a successor to U.S. Steel. As we showed in our opening

brief, terms of successorship are a mandatory subject of bargaining that directly affect working

conditions—and, to that point, are specifically addressed in the BLA between USW and U.S. Steel.

McCall Br. 21 (citing cases). At the center of the Union’s advocacy was its criticism of Nippon’s

trade practices that harm American steelworkers and concerns about Nippon’s plans to transfer

production to non-union facilities—speech that Plaintiffs specifically seek to enjoin. See Compl.

¶¶ 60, 87, 92; ECF No. 84-6; cf. Ord. of R. R. Telegraphers v. Chi. & Nw. R. Co., 362 U.S. 330,

336 (1960) (union’s opposition to railroad’s plan to close stations was a labor dispute because it

affected job security). This criticism pertains to core concerns of the USW and the employees it

represents regarding the Merger. Plaintiffs cannot seriously contend that this case does not

“involve” a labor dispute simply because the union’s successorship grievance was denied in

September 2024—nine months after the beginning of the alleged public campaign. See Pls.’ Br.

47. Nor has the arbitration brought an end to the Union’s public advocacy against the Merger,

which continues to pose a threat to the USW’s members. 9



9
        The sole authority Plaintiffs cite on this point is Phila. Marine Trade Ass’n v. Int’l
Longshoremen’s Ass’n, Loc. 1291, 368 F.2d 932, 934 (3d Cir. 1966), which is inapposite. The key
finding in that case was that the relevant order was not an injunction at all; it was a court order for
specific performance of an arbitration award. In dicta, the court observed that the union’s refusal
to comply with that order was too divorced from the labor dispute to be part of it. The Supreme
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       As we have explained, the NLGA bars injunctive relief even where the relevant claims

sound in antitrust. McCall Br. 23–24. Plaintiffs purport to cite authority to the contrary in Altemose

Constr. Co. v. Bldg. & Constr. Trades Council of Phila. & Vicinity, 751 F.2d 653, 658–59 (3d Cir.

1985), but their citation is wholly misleading. Plaintiffs quote language from that case that does

not refer to the NLGA, but rather to the so-called labor “statutory exemption” from antitrust

liability, which is a separate doctrine and law. Id.; Pls.’ Br. 47. Plaintiffs’ other citations are

similarly not applicable. Pls.’ Br. 48. In those cases, courts ordered injunctions after finding that

the “employees” at issue were not in fact employees at all, but instead independent businessmen

not subject to federal labor law. See Taylor v. Loc. No. 7, Int’l Union of Journeymen Horseshoers,

353 F.2d 593, 606 (4th Cir. 1965); United States v. Fish Smokers Trade Council, Inc., 183 F. Supp.

227, 235–36 (S.D.N.Y. 1960). 10

                                          CONCLUSION

       For the foregoing reasons, Mr. McCall’s Motion to Dismiss should be granted, and Mr.

McCall should be awarded his attorneys’ fees, court costs, and expenses.




Court later reversed the Third Circuit, finding that the District Court’s “decree . . . was too vague
to be sustained as a valid exercise of federal judicial authority.” Int’l Longshoreman’s Ass’n, Loc.
1291 v. Phila. Marine Trade Ass’n, 389 U.S. 64, 73–74 (1967).
10
        The lack of any available injunctive relief dispels the need for expedition in this case. In
that respect, Plaintiffs’ renewed request for expedited discovery (Pls.’ Br. 49–50) is both
unnecessary and premature. Mr. McCall has fully complied with the Court’s direction to confer,
gather, and review potentially responsive documents in preparation for production should the
Plaintiffs—in the Court’s words—demonstrate an “entitlement” to that information. Jan. 17, 2025
Tr. at 64. There has not been a determination that good cause exists for any expedited discovery,
and any such determination must first await resolution of the instant motion to dismiss.
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